UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOHN DOE,

Plaintiff, Case No.: 1:24-cv-07772 (JPO)

-against-
NOTICE OF VOLUNTARY
SEAN COMBS, DADDY’S HOUSE RECORDINGS DISMISSAL SOLELY OF
INC., CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a DEFENDANT BAD BOY
COMBS ENTERPRISES LLC, BAD BOY RECORDS LLC, PURSUANT
ENTERTAINMENT HOLDINGS, INC., BAD BOY TO RULE 41(a)(1)(A)G@) OF
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS THE FEDERAL RULES OF
HOLDINGS, INC., BAD BOY RECORDS LLC, BAD CIVIL PROCEDURE
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, AND ORGANIZATIONAL
DOES 1-10,
Defendants.

Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff John
Doe, by and through his undersigned counsel, hereby gives notice that the above-captioned
Action is voluntarily dismissed, without prejudice, solely as against Defendant Bad Boy Records
LLC (“BBRLLC”). This voluntary dismissal is not with respect to any Defendant other than
BBRLLC in the above-captioned Action. The same is acknowledged and agreed by BBRLLC,
by and through its undersigned counsel.
Dated: New York, New York

March 3, 2025
CURIS LAW, PLLC

» =

Adtigone Curis
52 Duane Street, 7th FI.
New York, NY 10007
(646) 335-7220
antigone@curislaw.com

— AND —
THE BUZBEE LAW FIRM
Anthony G. Buzbee
Texas Bar No. 24001820

— AND —

AVA LAW GROUP

Andrew Van Arsdale

CA Bar No. 323370
andrew.vanarsdale@avalaw.com

3667 Voltaire Street, Ste. 101

Attorneys for John Doe

PRYOR CASHMAN LLP

By: pl

Donafd S. Zakarin
William L. Charron
Nicholas G. Saady
7 Times Square
New York, New York 10036
(212) 421-4100
dzakarin@pryorcashman.com

Attorneys for BBRLLC

SO ORDERED

Judge J. Paul Oetken
United States District Judge

Dated: , 2025

